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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No. 15-cv-62688-BLOOM/Valle

  FLORIDIANS FOR SOLAR
  CHOICE, INC. a Florida not for
  Profit corporation,

         Plaintiff,

  v.

  PCI CONSULTANTS, INC. and
  ANGELO PAPARELLA,
  individually,

        Defendants.
  ____________________________/

            ORDER ON THIRD MOTION TO COMPEL AND FOR SANCTIONS
                         AND ORDER TO SHOW CAUSE

         THIS CAUSE is before the Court upon Plaintiff Floridians for Solar Choice, Inc.’s

  (“FSC”) Third Motion to Compel Discovery In Aid of Execution and for Sanctions, ECF No. [88]

  (“Motion”).   The Court has carefully considered the Motion, all opposing and supporting

  submissions, the record in this case and the applicable law, and is otherwise fully advised. For the

  reasons set forth below, the Motion is granted in part.

         This is the third time this issue is before the Court. On February 5, 2019, the Court entered

  its Order granting in part FSC’s motion to compel Defendant PCI Consultants, Inc. (“PCI”) to

  respond to discovery propounded in aid of execution in October, 2018. See ECF No. [76] (“First

  Order”). In the First Order, the Court required responses to interrogatories and requests for

  production and production of documents to be made by March 4, 2019. Thereafter, FSC filed a

  second Motion to Compel, ECF No. [79], based upon PCI’s failure to timely comply with the

  Court’s First Order. PCI admitted its failure to comply with the Court’s First Order. Thereafter,
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  the Court granted FSC’s second motion to compel, requiring PCI’s full compliance with the First

  Order by April 9, 2019. The Court further directed PCI to pay FSC’s reasonable attorneys’ fees

  and costs incurred in the filing of the second motion to compel as sanctions. See ECF No. [84]

  (“Second Order”). On April 9, 2019, PCI filed a notice of compliance, ECF No. [85], affirming

  compliance with the First and Second Orders.

         Nevertheless, in the Motion, FSC asserts that PCI has once again failed to timely comply

  with the Court’s previous orders, representing that numerous discovery responses were deficient

  and documents were not produced. In addition, FSC contends that PCI has not paid its attorneys’

  fees as directed in the Second Order. As a result, FSC requests that the Court order PCI to comply

  and requests additional sanctions.

         PCI attributes its failure to comply to FSC’s efforts to “misus[e] the discovery rules and

  filing rapid-fire discovery motions to gain a tactical advantage” in the appeal pending before the

  Eleventh Circuit. ECF No. [94] at 1. Upon review, the Court does not agree with PCI’s

  characterizations. First, as the Court has previously noted, FSC, as the judgment debtor pursuant

  to a valid and outstanding judgment, is entitled to broad discovery. See Fed. R. Civ. P. 69(a)(2)

  (“In aid of the judgment or execution, the judgment creditor . . . may obtain discovery from any

  person—including the judgment debtor—as provided in these rules or by the procedure of the state

  where the court is located.”); see also Bel Trading & Consulting, Ltd. v. KNM Worldwide Servs.,

  LLC, No. 14-22313-MC, 2014 WL 3865952, at *2 (S.D. Fla. Aug.6, 2014) (citing 12 Wright &

  Miller, Federal Practice and Procedure § 3014 (2d ed. 2013)) (“Rule 69 allows for broad discovery

  against the judgment debtor.”). And while PCI has expended considerable time arguing the

  propriety of FSC’s efforts to enforce its judgment, PCI has never sought a stay of proceedings

  pending appeal, which it was permitted to do under Rule 62 of the Federal Rules of Civil

  Procedure. Second, contrary to PCI’s characterizations, FSC’s discovery requests have been


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  outstanding for seven months. PCI’s failure to fully and timely respond as directly ordered by this

  Court necessitated the very motions PCI complains about as having been filed at “fanatic” or

  “breakneck” speed. In any event, PCI concedes that it has failed to fully comply with the Court’s

  Orders. See ECF No. [94]. As such, further sanctions are warranted.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. The Motion, ECF No. [88], is GRANTED IN PART;

         2. FSC shall recover from PCI its reasonable attorneys’ fees and costs incurred in its

               efforts to obtain compliance with this Court’s Orders. To that end, FSC is directed to

               file an itemization of the fees and costs incurred in filing its three motions to compel,

               including any amount already received in payment from PCI’s counsel, on or before

               June 14, 2019; and,

         3. PCI’s counsel shall appear to show cause, on July 23, 2019 at 9:00 a.m. in Courtroom

               10-2, 400 North Miami Avenue, Miami, Florida 33128, as to why he and/or his client

               should not be held in contempt or subject to additional sanctions as requested by FSC,

               for repeatedly violating this Court’s Orders.

         DONE AND ORDERED in Chambers at Miami, Florida, on June 4, 2019.




                                                               _________________________________
                                                               BETH BLOOM
                                                               UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record




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